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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DISTRIBUIDORA DE DISCOS KAREN
 C. POR A., et al.,
                      Plaintiffs,                                  13-CV-7706 (JPO)

                      -v-                                                ORDER

 UNIVERSAL MUSIC GROUP, INC., et
 al.,
                     Defendants.


J. PAUL OETKEN, District Judge:

        On September 3, 2020, the parties filed a status letter indicating that they had “resolved

virtually all of the outstanding issues” in the long-awaited settlement, and that they “expect[ed]

to be able to exchange execution copies within the next week or two.” (Dkt. No. 162 at 2.)

Since then, there has been no further communication with the Court.

        On or before November 20, 2020, the parties shall (1) file a letter concerning the status of

the case or (2) file a stipulation of dismissal.

         SO ORDERED.

Dated: November 2, 2020
       New York, New York

                                                   ____________________________________
                                                              J. PAUL OETKEN
                                                          United States District Judge
